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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :       CRIMINAL NO.
                                                 :
        v.                                       :
                                                 :       MAGISTRATE NO. 23-MJ-16
 KIM MARIE CONNOLLY                              :
                                                 :       VIOLATIONS:
        Defendant.                               :       18 U.S.C. § 1752(a)(1)
                                                 :       (Entering and Remaining in a
                                                 :       Restricted Building or Grounds) 18
                                                 :       U.S.C. § 1752(a)(2)
                                                 :       (Disorderly and Disruptive Conduct
                                                 :       in a Restricted Building or
                                                 :       Grounds) 40 U.S.C. § 5104(e)(2)(D)
                                                 :       (Disorderly Conduct in a Capitol
                                                 :       Building or Grounds)
                                                 :       40 U.S.C. § 5104(e)(2)(G)
                                                 :       (Parading, Demonstrating, or
                                                 :       Picketing in a Capitol Building)

                                        INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, KIM MARIE CONNOLLY did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-

off, and otherwise restricted area within the United States Capitol and its grounds, where the

Vice President was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United
       States Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, KIM MARIE CONNOLLY did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business

and official functions, engage in disorderly and disruptive conduct in and within such proximity
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to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted

area within the United States Capitol and its grounds, where the Vice President was and would

be temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, in the District of Columbia, KIM MARIE CONNOLLY

willfully and knowingly engaged in disorderly and disruptive conduct within the United States

Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and

disturb the orderly conduct of a session of Congress and either House of Congress, and the

orderly conduct in that building of a hearing before or any deliberation of, a committee of

Congress or either House of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                         COUNT FOUR

       On or about January 6, 2021, in the District of Columbia, KIM MARIE CONNOLLY

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol

Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))
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                                              Respectfully submitted,

DATED: January 30, 2023                       MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052


                                        By:   /s/ Brendan Ballou
                                              Brendan Ballou
                                              DC Bar No. 241592
                                              Special Counsel, detailed to the
                                              United States Attorney’s Office
                                              601 D Street NW
                                              Washington, DC 20001
                                              (202) 431-8493
                                              brendan.ballou-kelley@usdoj.gov
